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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )              Case No. 8:05CR237
                     Plaintiff,               )
                                              )
       vs.                                    )
                                              )               REPORT AND
PATRICK SMITH,                                )            RECOMMENDATION
                                              )
                     Defendant.               )


       This case is before the court on defendant Patrick Smith's Motion to Suppress (#36),

wherein he moves the court for an order suppressing all evidence obtained by law

enforcement following the March 31, 2005 traffic stop of a vehicle in which he was a

passenger. Specifically, Smith alleges the stop was made without probable cause or

reasonable suspicion as required by the Fourth Amendment to the United States Constitution.

       The government resists the motion, alleging (1) the defendant lacks standing to contest

the stop; (2) the stop was an investigatory stop based on reasonable suspicion; and (3) when

the defendant fled he abandoned his right to assert a violation of the Fourth Amendment.

       The motion was heard on September 23, 2005 and the Transcript of hearing (#44) was

filed on October 6, 2005. The court allowed the defendant until October 14, 2005 to file a

post-hearing brief, and the government until October 21, 2005 to file a responsive brief, at

which time the motion was deemed submitted.
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                              FACTUAL BACKGROUND

       Rachael Spurgeon testified that she is employed as a deputy by the Sarpy County

Sheriff's Department. On March 31, 2005 at approximately 6:45 a.m., she was working in

western Sarpy County when she received a dispatch call requesting that she check out a call

of a suspicious vehicle in the area of 204th and Buffalo Road. Dispatch also informed her

that the caller, who identified himself/herself by name and address, described the vehicle as

a blue Toyota or Honda with Iowa plate 541NTO occupied by two males and a female

(6:4-14). Spurgeon responded to the area. After failing to make contact with the vehicle, she

attempted to check with the reporting party to get additional information; however, no one

was home (6:19-23).

       Spurgeon testified that a month earlier at about the same time in the morning she had

received a similar call involving a suspicious vehicle in the area of 204th and Buffalo and

that she checked out the area, but did not have contact with the vehicle (7:12-19). Spurgeon

admitted that on the earlier call she had not been given a license plate number. She

continued checking the area of 204th and Buffalo. She described the location as a rural farm

area made up of dirt roads and not heavily populated.

       Spurgeon testified that at approximately 8:00 a.m. she was traveling on Fishery Road

3 to 5 miles from where the vehicle was first reported, when she observed a northbound

vehicle coming towards her matching the description and with Iowa plate 541NTO. The

vehicle contained two males in the front seat and what appeared to be a female in the back


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seat (8:7-9:1). She turned her vehicle around and began to follow the vehicle, at which time

it began to accelerate. Spurgeon activated her overhead lights and observed the occupants

throwing items out of the passenger side of the vehicle (9:2-11). She observed the items to

be white and powdery, noting that it exploded and went everywhere. As the vehicle

continued on additional items, which she could not identify, were thrown from it. After

pursuing for 1-2 miles, the vehicle pulled into an open field next to a fence by a wooded area

and the two males exited the vehicle running, jumped over a fence and ran into a wooded

area (9:18-25).

       Spurgeon observed the female exited the back seat of the vehicle and dump what

looked like a coffee filter into the air, causing a white powdery substance to go everywhere.

Spurgeon ordered the female to get on the ground and placed her under arrest.

       On cross-examination Spurgeon testified that while she had no personal conversation

with the person who made the call to dispatch, she was aware that they left their name and

address and that the address was in the area of 204th and Buffalo (12:2-11). Spurgeon

admitted that her contact with the vehicle occurred approximately two hours after she

received the call from dispatch (12:15-18) and that she had not observed any criminal activity

prior to activating her overhead lights (13:6-16).

       On redirect examination Spurgeon testified that there had been criminal activity, a

burglary to a residence, in the area in the past (13:23-14:3).




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                                    LEGAL ANALYSIS

       A. Standing

       As a passenger, the defendant may "challenge the stop and detention and argue that

the evidence should be suppressed as fruits of illegal activity." United States v. Lyton, 161

F.3d 1168, 1170 (8th Cir. 1998); accord United States v. Ameling, 328 F.3d 443, 447 n.3 (8th

Cir.), cert. denied, 540 U.S. 961 (2003).

       B. Stop of the Vehicle

       "For purposes of constitutional analysis, a traffic stop is characterized as an

investigative detention, rather than a custodial arrest." United States v. Jones, 269 F.3d 919,

924 (8th Cir. 2001); see United States v. Wheat, 278 F.3d 722, 726 (8th Cir. 2001), cert.

denied, 537 U.S. 850 (2002). As such, a traffic stop is governed by the principles of Terry v.

Ohio, 392 U.S. 1 (1968). Jones, 269 F.3d at 924. Under Terry, 392 U.S. at 21-22, a police

officer may conduct an investigative stop if the officer has a reasonable suspicion that the

person stopped is, or is about to be, engaged in criminal activity. See also Delaware v.

Prouse, 440 U.S. 648, 663 (1979).

       Reasonable suspicion requires a particularized and objective basis for suspecting the

person stopped of criminal activity, but the level of suspicion required for a Terry stop is less

demanding than that for probable cause. United States v. Gonzalez, 220 F.3d 922, 925 (8th

Cir. 2000) (internal quotations and citations omitted). In United States v. Arvizu, 534 U.S.

266, 273 (2002), the Supreme Court stressed that reviewing courts must look at "the totality


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of the circumstances" of each case to see whether the detaining officer has a "particularized

and objective basis" for suspecting legal wrongdoing. "This process allows officers to drawn

on their own experience and specialized training to make inferences from and deductions

about the cumulative information available to them that might well elude an untrained

person." Id. To justify a Terry stop, the likelihood of criminal activity need not rise to the

level required for probable cause, and it falls considerably short of satisfying a

preponderance of the evidence standard. Id. at 274; United States v. Sokolow, 490 U.S. 1,

7 (1989). "A reasonable suspicion may be justified even if there are innocent explanations

for a defendant's behavior when the circumstances are considered in the totality." United

States v. Tuley, 161 F.3d 513, 515 (8th Cir. 1999); see also United States v. Arvizu, 534 U.S.

at 274 ("Terry . . . precludes this sort of divide-and-conquer analysis."). "Factors that may

reasonably lead an experienced officer to investigate include time of day or night, location

of the suspect parties, and the parties' behavior when they become aware of the officer's

presence." United States v. Dawdy, 46 F.3d 1427, 1429 (8th Cir.), cert. denied, 516 U.S. 872

(1995).

       In this case, the officer began to follow the defendant's vehicle because a vehicle

matching that description was the subject of a citizen complaint approximately two hours

earlier. She had been unable to interview the caller, who was not at home, and had not

observed any criminal activity prior to activating her overhead lights. Deputy Spurgeon did

not activate the overhead lights until after the vehicle accelerated away from her. At that


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point, the occupants began flinging items from the passenger side of the car. The first item

thrown from the car "looked like it exploded and white powdery stuff went everywhere."

The vehicle eventually pulled into an open field next to a fence by a wooded area and the two

males exited the vehicle running, jumped over a fence and ran into a wooded area.

       The court must reject the defendant's argument that he was "seized" when Deputy

Spurgeon activated her overhead lights in an attempt to stop the vehicle. For one to be seized

within the meaning of the Fourth Amendment, either physical force must be used or, where

force is absent, there must be submission to the assertion of authority. California v. Hodari

D., 499 U.S. 621, 626 (1991); accord United States v. Swindle, 407 F.3d 562 (2d Cir.), cert.

denied, 126 S. Ct. 279 (2005); see Brower v. County of Inyo, 489 U.S. 593, 597 (1989) (a

seizure occurs if "there is a governmental termination of freedom of movement through

means intentionally applied."). "A Fourth Amendment seizure does not occur when a police

officer turns on his ... lights and thereby signals the driver of a vehicle to pull over. For a

seizure to occur, there must be 'an acquisition of physical control.'" Willhauck v. Halpin,

953 F.2d 689, 716 (1st Cir. 1991) (quoting Brower, 489 U.S. at 597).

       In general, a Terry stop must be justified at its inception. See Terry, 392 U.S. 1, 18-19

(1968). In Swindle, based on subsequent Supreme Court precedent, the Second Circuit

reluctantly concluded that reasonable suspicion may be premised upon events occurring after

a person is ordered to stop but before he or she is physically apprehended: "Hodari D.

strongly implies–without explicitly holding–that an unreasonable order to stop does not


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violate the Fourth Amendment and that the grounds for a stop may thus be based on events

that occur after the order to stop is given." 407 F.3d at 568 (citing Hodari D., 499 U.S. at

629).

        In this case, the evidence does not show that the defendant submitted to Deputy

Spurgeon's initial show of authority, i.e., the flashing lights signaling the driver to stop the

vehicle. Rather, the driver did not stop the vehicle at the deputy's command, and defendant

and the driver fled from Deputy Spurgeon after the vehicle stopped. For these reasons, I find

that the defendant was not seized, for Fourth Amendment purposes, until he was physically

apprehended.

        By the time the defendant was seized, Deputy Spurgeon had observed the occupants

of the fleeing vehicle throwing items from the vehicle, causing "explosions" of white powder

along the roadway. "Headlong flight–wherever it occurs–is the consummate act of evasion:

It is not necessarily indicative of wrongdoing, but it is certainly suggestive of such." Illinois

v. Wardlow, 528 U.S. 119, 124 (2000). These factors, together with the existence of a

citizen's complaint involving this vehicle, provided reasonable suspicion to detain the

defendant.

        C. Abandonment

        The court also agrees with the government that the defendant abandoned any interest

he may have had in the vehicle. Whether an abandonment has occurred is determined on the

basis of the objective facts available to the investigating officers. United States v. Tugwell,


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125 F.3d 600, 602 (1997), cert. denied, 522 U.S. 1061 (1998). The determination of

abandonment "'is to be made in light of the totality of the circumstances, and two important

factors are denial of ownership and physical relinquishment of the property.'" Id. (quoting

United States v. Nordling, 804 F.2d 1466, 1469 (9th Cir. 1986)). "A warrantless search of

abandoned property does not implicate the Fourth Amendment, for any expectation of

privacy in the item searched is forfeited upon its abandonment." United States v. Tugwell,

125 F.3d at 602; accord United States v. James, 353 F.3d 606, 615-16 (8th Cir. 2003).

          Based on the totality of the circumstances, I conclude that defendant's actions were

inconsistent with any continued expectation of privacy in the vehicle. See Tugwell, 125 F.3d

at 603.

                                    RECOMMENDATION

          For all the reasons discussed above,

          IT IS RECOMMENDED that defendant Patrick Smith's Motion to Suppress (#36)

be denied.

        Pursuant to NECrimR 57.3, a party may object to this Report and Recommendation by filing
a "Statement of Objection to Magistrate Judge's Recommendation" within ten (10) days after being
served with the recommendation. The statement of objection shall specify those portions of the
recommendation to which the party objects and the basis of the objection. The objecting party shall
file contemporaneously with the statement of objection a brief setting forth the party's arguments that
the magistrate judge's recommendation should be reviewed de novo and a different disposition made.

          DATED November 7, 2005.

                                               BY THE COURT:

                                               s/ F.A. Gossett
                                               United States Magistrate Judge

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